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EXHIBIT 1
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CFR > Title 17 » Chapter II » Part 240 » Subpart A >» Section 240.10b-10

17 CFR 240.10b-10 - Confirmation of transactions.

§ 240.10b-10 Confirmation of transactions.

PRELIMINARY NOTE.

information be disclosed is not determinative of a broker-dealer's obligation under the
general antifraud provisions of the federal securities laws to disclose additional information to
a customer at the time of the customer's investment decision.

(a) Disclosure requirement. |t shall be unlawful for any broker or dealer to effect for or with

such broker or dealer, at or before completion of such transaction, gives or sends to such
customer written notification disclosing:

(1) The date and time of the transaction (or the fact that the time of the transaction will be
furnished upon written request to such customer) and the identity, price, and number of

(i) If the broker or dealer is acting as agent for such customer, for some other person, or
for both such customer and some other person:

was sold, for such customer or the fact that the information will be furnished upon
written request of such customer; and

(B) The amount of any remuneration received or to be received by the broker from
such customer in connection with the transaction unless remuneration paid by such
customer is determined pursuant to written agreement with such customer, otherwise
than on a transaction basis; and

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(C) For a transaction in any NMS stock as defined in § 242.600 of this chapter or a
security authorized for quotation on an automated interdealer quotation system that
statement whether payment for order flow is received by the broker or dealer for
transactions in such securities and the fact that the source and nature of the
compensation received in connection with the particular transaction will be furnished
do not receive payment for order flow in connection with any transaction have no
disclosure obligations under this paragraph; and

the broker in connection with the transaction: Provided, however, that if, in the case of
a purchase, the broker was not participating in a distribution, or in the case of a sale,
was not participating in a tender offer, the written notification may state whether any
other remuneration has been or will be received and the fact that the source and
amount of such other remuneration will be furnished upon written request of such
customer, or

(ii) If the broker or dealer is acting as principal for its own account:

(A) In the case where such broker or dealer is not a market maker in an equity
security and, if, after having received an order to buy from a customer, the broker or
dealer purchased the equity security from another person to offset a
contemporaneous sale to such customer or, after having received an order to sell

or sale price (for customer sales); or

(B) In the case of any other transaction in an NMS stock as defined by § 242.600 of
this chapter, or an equity security that is traded on a national securities exchange and
that is subject to last sale reporting, the reported trade price, the price to the customer
in the transaction, and the difference, if any, between the reported trade price and the
price to the customer.

(3) Whether any odd-lot differential or equivalent fee has been paid by such customer in

a statement to the effect that such debt security may be redeemed in whole or in part
before maturity, that such a redemption could affect the yield represented and the fact that
additional information is available upon request; and

(5) In the case of a transaction in a debt security effected exclusively on the basis of a
dollar price:

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(i) The dollar price at which the transaction was effected, and

(ii) The yield to maturity calculated from the dollar price: Provided, however, that this
paragraph (a)(5)(ii) shall not apply to a transaction in a debt security that either:

of receivables or other financial assets that are subject continuously to prepayment;
and

(i) The yield at which the transaction was effected, including the percentage amount and
its characterization (e.g., current yield, yield to maturity, or yield to call) and if effected at
yield to call, the type of call, the call date and call price; and

(ii) The dollar price calculated from the yield at which the transaction was effected; and

(ili) If effected on a basis other than yield to maturity and the yield to maturity is lower
than the represented yield, the yield to maturity as well as the represented yield;
Provided, however, that this paragraph (a)(6)(iii) shall not apply to a transaction in a
debt security that either:

(A) Has a maturity date that may be extended by the issuer thereof, with a variable
interest rate payable thereon; or

of receivables or other financial assets that are subject continuously to prepayment;
and

represents an interest in or is secured by a pool of receivables or other financial assets
that are subject continuously to prepayment, a statement indicating that the actual yield of
such asset-backed security may vary according to the rate at which the underlying
receivables or other financial assets are prepaid and a statement of the fact that
information concerning the factors that affect yield (including at a minimum estimated yield,
weighted average life, and the prepayment assumptions underlying yield) will be furnished
upon written request of such customer; and

shall not apply in the case of a transaction in shares of a registered open-end investment
company or unit investment trust if:

associated person of the broker or dealer required by paragraph (a) of this section to
send written notification to the customer; and

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under the Investment Company Act of 1940 that holds itself out as a money market fund
and attempts to maintain a stable net asset value per share: Provided, however, that no

fund; and

(2) Such broker or dealer gives or sends to such customer within five business days after
the end of each quarterly period, for transactions involving investment company and
periodic plans, and after the end of each monthly period, for other transactions described
in paragraph (b)(1) of this section, a written statement disclosing each purchase or
redemption, effected for or with, and each dividend or distribution credited to or reinvested
for, the account of such customer during the month; the date of such transaction; the

each such transaction; the total number of shares of such securities in such customer's
account; any remuneration received or to be received by the broker or dealer in
connection therewith; and that any other information required by paragraph (a) of this

distribution to the customer, and

(3) Such customer is provided with prior notification in writing disclosing the intention to

immediate confirmation.

(c) A broker or dealer shall give or send to a customer information requested pursuant to this
rule within 5 business days of receipt of the request: Provided, however, That in the case of
information pertaining to a transaction effected more than 30 days prior to receipt of the
request, the information shall be given or sent to the customer within 15 business days.

(d) Definitions. For the purposes of this section:
(1) Customer shall not include a broker or dealer;

(2) Completion of the transaction shall have the meaning provided in rule 15c1-1 under
the Act;

(3) Time of the transaction means the time of execution, to the extent feasible, of the
customer's order;

(4) Debt security as used in paragraphs (a)(3), (4), and (5) only, means any security, such

as a bond, debenture, note, or any other similar instrument which evidences a liability of

the issuer (including any such security that is convertible into stock or a similar security)
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and fractional or participation interests in one or more of any of the foregoing: Provided,
however, That securities issued by an investment company registered under the
Investment Company Act of 1940 shall not be included in this definition;

(5) Periodic plan means any written authorization for a broker acting as agent to purchase
or sell for a customer a specific security or securities (other than securities issued by an
open end investment company: or unit investment trust registered under the Investment

specific time intervals and setting forth the commissions or charges to be paid by the
customer in connection therewith (or the manner of calculating them); and

or made payable to, the registered investment company, or the principal underwriter,
custodian, trustee, or other designated agent of the registered investment company), or

Revenue Code;

(ii) A contractual or systematic agreement under which the customer purchases at the
applicable public eva price, or redeems at the applicable redemption os Buen
intervals and selfing forth the commissions or charges to be paid by such customer | in
connection therewith (or the manner of calculating them; or ,

(iii) Any ator arrangement involving a group of ate or more customers and

designated by the group: Provided, That such arrangement requires the registered
investment company or its agent -

(A) To give or send to the designated person, at or before the completion of the
transaction for the purchase of such securities, a written notification of the receipt of
the total amount paid by the group;

(B) To send to anyone in the group who was a customer in the prior quarter and on
whose behalf payment has not been received in the current quarter a quarterly written
statement reflecting that a payment was not received on his behalf; and

(C) To advise each customer in the group if a payment is not received from the
designated person on behalf of the group within 10 days of a date certain specified in
the arrangement for delivery of that payment by the designated person and thereafter
to send to each such customer the written notification described in paragraph (a) of
this section for the next three succeeding payments.

(7) NMS stock shall have the meaning provided in § 242.600 of this chapter.

(8) Payment for order flow shall mean any monetary payment, service, property, or other
benefit that results in remuneration, compensation, or consideration to a broker or dealer
from any broker or dealer, national securities exchange, registered securities association,

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or exchange member in return for the routing of customer orders by such broker or dealer
to any broker or dealer, national securities exchange, registered securities association, or
exchange member for execution, including but not limited to: research, clearance, custody,
products or services; reciprocal agreements for the provision of order flow; adjustment of a
broker or dealer's unfavorable trading errors; offers to participate as underwriter in public
offerings; stock loans or shared interest accrued thereon; discounts, rebates, or any other
reductions of or credits against any fee to, or expense or other financial obligation of, the
broker or dealer routing a customer order that exceeds that fee, expense or financial
obligation.

(9) Asset-backed security means a security that is primarily serviced by the cashflows of
a discrete pool of receivables or other financial assets, either fixed or revolving, that by
their terms convert into cash within a finite time period plus any rights or other assets

U.S.C. 780(b)(11)(A)) to the extent that it effects transactions for customers in security
futures products in a futures account (as that term is defined in § 240.15c3-3(a)(15)) and a
broker or dealer registered pursuant to section 15(b)(1) of the Act (15 U.S.C. 780(b)(1)) that

Commodity Exchange Act ( 7 U.S.C. 6f(a)(1)), to the extent that it effects transactions for
customers in security futures products in a futures account (as that term is defined in §

240.15c3-3(a)(15)), Provided that:

(1) The broker or dealer that effects any transaction for a customer in security futures
products in a futures account gives or sends to the customer no later than the next
business day after execution of any futures securities product transaction, written
notification disclosing:

(i) The date the transaction was executed, the identity of the single security or narrow-

based security index underlying the contract for the security futures product, the number

of contracts of such security futures product purchased or sold, the price, and the
delivery month;

(ii) The source and amount of any remuneration received or to be received by the
broker or dealer in connection with the transaction, including, but not limited to,
markups, commissions, costs, fees, and other charges incurred in connection with the
transaction, provided, however, that if no remuneration is to be paid for an initiating
transaction until the occurrence of the corresponding liquidating transaction, that the
broker or dealer may disclose the amount of remuneration only on the confirmation for
the liquidating transaction;

(iii) The fact that information about the time of the execution of the transaction, the
identity of the other party to the contract, and whether the broker or dealer is acting as
agent for such customer, as agent for some other person, as agent for both such

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dealer is acting as principal, whether it is engaging in a block transaction or an

written request of the customer; and

(iv) Whether payment for order flow is received by the broker or dealer for such
compensation received in connection with the particular transaction will be furnished
upon written request of the customer; provided, however, that brokers or dealers that do
not receive payment for order flow have no disclosure obligation under this paragraph.

(2) Transitional provision.

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until June 1, 2003.

(f) The Commission may exempt any broker or dealer from the requirements of paragraphs

[ 43 FR 47503, Oct. 16, 1978, as amended at 48 FR 17585, Apr. 25, 1983; 50 FR 37654, Sept. 17, 1985;
53 FR 40721, Oct. 18, 1988; 59 FR 55012, Nov. 2, 1994; 59 FR 59620, Nov. 17, 1994; 59 FR 60555, Nov.
25, 1994; 67 FR 58312, Sept. 13, 2002; 70 FR 37618, June 29, 2005; 79 FR 1549, Jan. 8, 2014]

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